         Case 1:17-cv-00124-LLS Document 79 Filed 08/29/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

FEDERAL TRADE COMMISSION and
                                                         Case No. 1:17-cv-00124-LLS
THE PEOPLE OF THE STATE OF NEW YORK,
by ERIC T. SCHNEIDERMAN,
Attorney General of the State of New York,
                                                         AMENDED RULE 7.1
                      Plaintiffs,                        DISCLOSURE STATEMENT
                      v.

QUINCY BIOSCIENCE HOLDING
COMPANY, INC., a corporation;

QUINCY BIOSCIENCE, LLC, a limited
liability company;

PREVAGEN, INC., a corporation
d/b/a/ SUGAR RIVER SUPPLEMENTS;

QUINCY BIOSCIENCE
MANUFACTURING, LLC, a limited liability
company;

MARK UNDERWOOD, individually and as
an officer of QUINCY BIOSCIENCE
HOLDING COMPANY, INC., QUINCY
BIOSCIENCE, LLC, and PREVAGEN,
INC.; and

MICHAEL BEAMAN, individually and as an
officer of QUINCY BIOSCIENCE HOLDING
COMPANY, INC., QUINCY BIOSCIENCE, LLC,
and PREVAGEN, INC.

                              Defendants.



       Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Quincy Bioscience Holding

Company, Inc., hereby identifies the following as any parent corporation and any publicly held

corporation owning 10% or more of its stock:
            Case 1:17-cv-00124-LLS Document 79 Filed 08/29/19 Page 2 of 2



       1.      None.

       Pursuant to Federal Rule of Civil Procedure 7.1, Defendants Quincy Bioscience, LLC,

Prevagen, Inc. d/b/a Sugar River Supplements, and Quincy Bioscience Manufacturing, LLC

hereby identify the following as any parent corporation and any publicly held corporation

owning 10% or more of their stock:

       1.      Quincy Bioscience Holding Company, Inc.

                                                    Respectfully submitted,


 Dated: August 29, 2019                             KELLEY DRYE & WARREN LLP
 New York, New York

                                                    By:      /s/ Geoffrey W. Castello
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                                                    Counsel for Defendants Quincy Bioscience
                                                    Holding Company, Inc., Quincy Bioscience,
                                                    LLC, Prevagen, Inc. d/b/a Sugar River
                                                    Supplements, and Quincy Bioscience
                                                    Manufacturing, LLC




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